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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
                          SAN FRANCISCO DIVISION

                                          Case No. 3:25-cv-2847

COMMUNITY LEGAL SERVICES IN EAST
PALO ALTO,
1861 Bay Road
East Palo Alto, CA 94303, et al.,

                 Plaintiffs,

       v.                                 [PROPOSED] TEMPORARY
                                          RESTRAINING ORDER AND
UNITED STATES DEPARTMENT OF               PRELIMINARY INJUNCTION
HEALTH AND HUMAN SERVICES,
200 Independence Avenue, S.W.
Washington, DC 20201, et al.,


                Defendants.




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       AND NOW, this ___ day of __________, 2025, upon consideration of Plaintiffs’ Motion

for Temporary Restraining Order and Preliminary Injunction, the memorandum and evidence in

support thereof, and Defendants’ response thereto, it is HEREBY ORDERED that Plaintiffs’

Motion is GRANTED as follows:

       Enjoining Defendants from interfering with the Trafficking Victims Protection
       Reauthorization Act of 2008 (“TVPRA”), 8 U.S.C. § 1232(c)(5), and the Office of Refugee
       Resettlement’s (“ORR”) Foundational Rule, 45 C.F.R. § 410.1309(a)(4) requirements to
       provide direct legal representation services to unaccompanied children, including by
       cutting off access to congressionally appropriated funding.
FURTHER ORDERED that pending a hearing and determination of the Order to Show

Cause, the Cancellation Order shall be enjoined.



                                                   __________________________________
                                                   UNITED STATES DISTRICT JUDGE




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